46 F.3d 1123
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Kay Frances GIBBS, Plaintiff--Appellant,v.NORTH CAROLINA CORRECTIONAL INSTITUTION FOR WOMEN;  JaneYarborough-Williams;  Kathy Russell, Defendants-Appellees.
    No. 94-7185.
    United States Court of Appeals, Fourth Circuit.
    Submitted Nov. 17, 1994.Decided Jan. 17, 1995.
    
      Kay Frances Gibbs, Appellant Pro Se.
      Before RUSSELL and MURNAGHAN, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing two of three Defendants in her Sec. 1983 action.  We dismiss the appeal for lack of jurisdiction because the order is not appealable.  This Court may exercise jurisdiction only over final orders, 28 U.S.C. Sec. 1291 (1988), and certain interlocutory and collateral orders, 28 U.S.C. Sec. 1292 (1988);  Fed.R.Civ.P. 54(b);  Cohen v. Beneficial Indus.  Loan Corp., 337 U.S. 541 (1949).  The order here appealed is neither a final order nor an appealable interlocutory or collateral order.
    
    
      2
      We dismiss the appeal as interlocutory.*  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      3
      DISMISSED.
    
    
      
        *
         We deny Appellant's motion for extension of time to file an informal brief
      
    
    